Case 1:22-cv-00475-KES-EPG Document1 Filed 04/21/22 FILED

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UNITED STATES DISTRICT COURT COMPLAIN Ex y us
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| Ad-Cy-0004 75-DhO-
MICHAEL GENE MCKINNEY Plaintiff, Plaintiff demands trial by jury
VRS
FRESNO COUNTY SHERIFF’S OFFICE
FRESNO COUNTY SHERIFF MARGARET MIMS Defendants
FRESNO COUNTY SHERIFF’S CAPTAIN RYAN HUSHAW
1. At all times hereinafter mentioned, Plaintiff was and still is a resident of Fresno County,
California.
2. The Defendants were and still are residents of Fresno County, California.
3. The jurisdiction of the United States Court is invoked because the Defendants violated

the Plaintiffs Constitutional right to Due Process. The Defendants told the Plaintiff he could file
a formal written appeal of a decision made by their employee. The Plaintiff did so. The
Defendants deprived the Plaintiff's right to due process by not allowing his participation in the
appeal. The Defendant was not presented an opportunity to review the information used in
determining the claims stated in the denial or given opportunity to offer rebuttal testimony or
evidence to disprove the claims given as reasons for the decision being appealed.

4. Plaintiff applied to the Fresno County Sheriff's office for a permit to legally carry a
concealed weapon in 2018. This application was denied. Reasons offered to support the denial
were the applicant’s criminal record and psychiatric profile. The plaintiff did not appeal.

Plaintiff reapplied for a permit to legally carry a concealed weapon on order number
C6R3NCVUG dated 9/30/2021.
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The permit order number C6R3NCVUG was denied by email on 1/10/2022. The reasons
given for the denial were Criminal History 26150 PC, and Moral Character 26150(a)(1) PC.

On 1/11/2022 the Plaintiff mailed a formal written request to appeal the decision to
deny the permit applied for on order number C6R3NCVUG. The appeal request was addressed
to the administrative Captain at the CCW unit.

On 2/17/2022 the plaintiff received an email advising the application for a permit order
number C6R3NCVUG was denied for the following reasons: Withheld/False Information on
Application 26180 PC, Criminal History 26150 PC. This email advised the Plaintiff that he could
appeal this decision by mailing an appeal request to the administrative Captain at the CCW unit.

On 2/22/2022 the plaintiff mailed a formal written request to appeal the denial dated
2/17/2022 to the administrative Captain at the CCW unit.

In late March 2022 a person representing their self as an employee at the CCW unit
office phoned the plaintiff to notify him that his appeals were denied.

On 4/8/2022 the Plaintiff mailed a letter to the administrative Captain at the CCW unit
giving notice that a phone call or email would not suffice as formal denial of the appeals.

5. Wherefore, the Plaintiff demands that,

a) The court compel the defendants to establish a process that offers a person whose
application for a permit to carry a concealed weapon is denied an opportunity to participate in
an unbiased appeal process like that prescribed and protected by the judiciary.

b) The court order the defendant to allow the plaintiff to participate in a court approved
appeal process, once established, that will allow him to appear at the appeal and present
testimony and evidence to rebut information contained in the reasons for the denial of a CCW
permit application.

c) The court order the Defendants to pay any monetary damage the Plaintiff incurs as
result of the Defendants actions and the reimburse the costs of the Plaintiff’s search for relief.

d) Any further relief which the court or a jury may deem appropriate.

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The Plaintiff is:

The Plaintiff's address:

The Defendants Are

All Defendants addresses:

Michael Gene McKinney

Michael Gene McKinney
4397 N. Valentine Avenue

Fresno, CA 93722

Fresno County Sheriff's Office
Margaret Mims, Fresno County Sheriff

Ryan Hushaw, Fresno County Sheriff’s Captain

Fresno County Sheriff’s Office

Sheriff Margaret Mims
Captain Ryan Hushaw
2200 Fresno Street

Fresno, CA 93721

Michael Gene McKinney

Plaintiff

